                                                                                           CLOSED
                   United States District Court
               District of Massachusetts (Boston)
 CRIMINAL DOCKET FOR CASE #: 1:20−mj−06126−MPK All Defendants

Case title: USA v. Torres                                    Date Filed: 02/14/2020
Other court case number: 20−10059 District of New Jersey     Date Terminated: 02/18/2020


Assigned to: Magistrate Judge M.
Page Kelley

Defendant (1)
Jose Torres                            represented by Joseph B. Simons
TERMINATED: 02/18/2020                                Simons Law Office
                                                      One International Place
                                                      Suite 1400
                                                      Boston, MA 02110
                                                      617−292−6260
                                                      Fax: 617−275−0934
                                                      Email: joe@jbsimonslaw.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained

Pending Counts                                        Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                     Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                            Disposition
18:2422(a)(Coercion and
Enticement)



Plaintiff

                                                                                                    1
USA                                         represented by K. Nathaniel Yeager
                                                           US Attorney's Office − MA
                                                           J. Joseph Moakley U.S. Courthouse
                                                           1 Courthouse Way
                                                           Suite 9200
                                                           Boston, MA 02210
                                                           617−748−3311
                                                           Email: nathaniel.yeager@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant US Attorney

Date Filed   # Page Docket Text
02/14/2020           Arrest (Rule 5) of Jose Torres. (Defendant lodged) (Belmont, Kellyann)
                     (Entered: 02/18/2020)
02/18/2020   1    4 ELECTRONIC NOTICE of Case Assignment as to Jose Torres; Magistrate
                    Judge M. Page Kelley assigned to case. (Finn, Mary) (Entered: 02/18/2020)
02/18/2020   2    5 NOTICE OF ATTORNEY APPEARANCE: Joseph B. Simons appearing for
                    Jose Torres. Type of Appearance: Retained. (Simons, Joseph) (Entered:
                    02/18/2020)
02/18/2020   3       ELECTRONIC NOTICE OF HEARING for Initial Appearance as to Jose
                     Torres. Initial Appearance − Rule 5 set for 2/18/2020 03:30 PM in Courtroom 24
                     before Magistrate Judge M. Page Kelley. (Belmont, Kellyann) (Entered:
                     02/18/2020)
02/18/2020   4    6 RULE 5 AFFIDAVIT by USA as to Jose Torres by Affiant Michael Scimeca
                    (Attachments: # 1 Copy of warrant) (Belmont, Kellyann) (Entered: 02/19/2020)
02/18/2020   5       Electronic Clerk's Notes for proceedings held before Magistrate Judge M. Page
                     Kelley: Initial Appearance in Rule 5(c)(3) Proceedings as to Jose Torres held on
                     2/18/2020. Court goes over the proceedings and advises the defendant of his
                     rights. Court has colloquy with defendant about whether or not he understands
                     his rights and the pending charges out of the District of New Jersey. Government
                     states charges and moves for detention. Court takes recess. Court back on record.
                     Court advises the defendant of his rights under Rule 20 and his rights to an
                     identity hearing, production of warrant, preliminary and detention hearing in this
                     district. Defendant waives the hearings in this district and wishes to have them in
                     New Jersey. Court has colloquy and finds the waivers of the hearings in this
                     district knowing and voluntary. Order of remand to New Jersey to issue.
                     Defendant remanded to custody of USMS. (Attorneys present: Nathaniel Yeager
                     for the government and Joseph Simons for the defendant. Taia Thompson for
                     probation. )Court Reporter Name and Contact or digital recording information:
                     Digital Recording. To order a copy of this Digital Recording, please go to
                     http://www.mad.uscourts.gov/attorneys/Magistrate−Audio.htm . For a transcript
                     of this proceeding, contact Deborah Scalfani by email at
                     deborah_scalfani@mad.uscourts.gov. (Belmont, Kellyann) (Entered:
                     02/19/2020)
02/18/2020   6    8 WAIVER of Rule 5 and 5.1 Hearings by Jose Torres (Belmont, Kellyann)
                    (Entered: 02/19/2020)

                                                                                                           2
02/18/2020   7   9 Magistrate Judge M. Page Kelley: ORDER entered. ORDER OF REMOVAL to
                   District of New Jersey as to Jose Torres. (Forwarded to USMS) (Belmont,
                   Kellyann) (Entered: 02/19/2020)




                                                                                             3
  Case 1:20-mj-6126         NEF for Docket Entry 1        Filed 02/18/2020       Page 1 of 1


MIME−Version:1.0
From:ECFnotice@mad.uscourts.gov
To:CourtCopy@localhost.localdomain
Bcc:
−−Case Participants: Joseph B. Simons (joe@jbsimonslaw.com), K. Nathaniel Yeager
(nathaniel.yeager@usdoj.gov, usama.ecf@usdoj.gov), Magistrate Judge M. Page Kelley
(erika_page@mad.uscourts.gov, honorable_page_kelley@mad.uscourts.gov,
kellyann_moore@mad.uscourts.gov, patricia_macdougall@mad.uscourts.gov)
−−Non Case Participants: ad hoc (kellyann_belmont@mad.uscourts.gov)
−−No Notice Sent:

Message−Id:8670774@mad.uscourts.gov
Subject:Activity in Case 1:20−mj−06126−MPK USA v. Torres Case Assigned/Reassigned
Content−Type: text/html

                                      United States District Court

                                       District of Massachusetts

Notice of Electronic Filing


The following transaction was entered on 2/18/2020 at 9:12 AM EST and filed on 2/18/2020

Case Name:       USA v. Torres
Case Number:     1:20−mj−06126−MPK
Filer:
Document Number: 1(No document attached)
Docket Text:
ELECTRONIC NOTICE of Case Assignment as to Jose Torres; Magistrate Judge M. Page
Kelley assigned to case. (Finn, Mary)


1:20−mj−06126−MPK−1 Notice has been electronically mailed to:

K. Nathaniel Yeager   nathaniel.yeager@usdoj.gov, USAMA.ECF@usdoj.gov

1:20−mj−06126−MPK−1 Notice will not be electronically mailed to:




                                                                                               4
          Case 1:20-mj-06126-MPK Document 2 Filed 02/18/20 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                               )
UNITED STATES OF AMERICA,                      )
     Plaintiff                                 )
                                               )
V.                                             )      CRIMINAL NO. 1:20-mj-06126-MPK
                                               )
JOSE TORRES,                                   )
     Defendant                                 )
                                               )


                                APPEARANCE OF COUNSEL

        Please enter my appearance as counsel for Jose Torres, the defendant in the above-

entitled action.

                                              Respectfully Submitted
                                              For the Defendant,
                                              JOSE TORRES,


                                              _____________________
                                              Joseph B. Simons, Esq.
                                              Simons Law Office
                                              1 International Place, Suite 1400
                                              Boston, MA 02110
                                              (617) 544-9000
                                              MA BBO #684030
Dated: February 18, 2020

                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on February 18,
2020.

                                              __________________________
                                              Joseph B. Simons




                                                                                                       5
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                                                               6
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                                                                 7
                     Case 1:20-mj-06126-MPK Document 6 Filed 02/18/20 Page 1 of 1

A0 466A{Rev. 12/09) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)


                                      United States District Court
                                                                       for the

                                                           District of Massachusetts


                 United States of America
                               V.                                                Case No. 20-mj-6126-MPK


                         Jose Torres                                             Charging District's Case No. 20-10059
                           Defendant


                                                WAIVER OF RULE 5 & 5.1 HEARINGS
                                                         (Complaint or Indictment)

          I understand that I have been charged in another district, the (name ofother court)                     District of New Jersey


          I have been informed of the charges and of my rights to:
         (1)        retain counsel or request the assignment of counsel if I am unable to retain counsel;
         (2)        an identity hearing to determine whether I am the person named in the charges;
         (3)        production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;
         (4)        a preliminaiy hearing within 14 days of my first appearance if 1 am in custody and 21 days otherwise
                    unless I am indicted — to determine whether there is probable cause to believe that an offense has
                    been committed;

         (5)        a hearing on any motion by the government for detention;

         (6)        request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

          I agree to waive my right(s) to:

         □          an identity hearing and production of the warrant.
         □          a preliminary hearing.
         □          a detention hearing.
                    an identity hearing, production of the warrant, and any preliminary or detention hearing to which 1 may
                    be entitled in this district. 1 request that those hearings be held in the prosecuting district, at a time set
                    by that court.

         I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.



Date:
                                                                                          Defendant's signature



                                                                                    Signature ofdefendant's attorney

                                                                                 •T"o5://?L UT
                                                                                   Printed name of defendant's attorney




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                     Case 1:20-mj-06126-MPK Document 7 Filed 02/18/20 Page 1 of 1


AO 94 (Rev. 06/09)Commitment to Another District



                                    United States District Court
                                                               for the

                                                     District of Massachusetts


                 United States of America
                               V.

                                                                         Case No. 20-mj-6126-MPK

                        Jose Torres                                        Charging District's
                          Defendant                                        Case No.      20-10059


                                           COMMITMENT TO ANOTHER DISTRICT


         The defendant has been ordered to appear in the                                District of New Jersey

(ifapplicable)                                     division. The defendant may need an interpreter for this language:



         The defendant: fiZf will retain an attorney.
                               □ is requesting court-appointed counsel.

         The defendant remains in custody after the initial appearance.

        IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant's arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date: ^ j 18 l70Zn
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